      Case 1:21-cr-00225-DLF Document 45-1 Filed 06/07/22 Page 1 of 5




                     UNITED STATES DISTRICT
                  FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA          )
                                  )
v.                                )     Case No. 21-cr-225 (DLF)
                                  )
TRENISS JEWELL EVANS III,         )
                                  )
     Defendant.                   )


        MEMORANDUM OF LAW AND FACTS IN SUPPORT OF
        DEFENDANT’S MOTION TO SEAL CERTAIN FILINGS
Case 1:21-cr-00225-DLF Document 45-1 Filed 06/07/22 Page 2 of 5
         Case 1:21-cr-00225-DLF Document 45-1 Filed 06/07/22 Page 3 of 5




II.    STANDARDS FOR SEALING IN THE D.C. CIRCUIT
       Court filings are presumed open, accessible and publicly viewable under the

 First and Sixth Amendments. See Washington Post v. Robinson, 935 F.2d 282 (D.C.

 Cir. 1991). The D.C. Circuit has consistently employed a multi-factor balancing test

 when determining whether the common-law right of access to judicial records

 requires those records to be made available to the public for copying and inspection.

 Applied here, that test weighs in favor of sealing Docket No. 44.


       There is a ‘strong presumption in favor of public access’ to court records. United

 States v. Hubbard, 650 F.2d 293, 317 (D.C. Cir. 1980)). However, “that presumption

 may be outweighed by competing interests.” Id. To weigh those competing interests,

 the D.C. Circuit uses the six-factor “Hubbard test.”


       Thus, in this jurisdiction, “when a court is presented with a motion to seal or

 unseal, it should weigh: ‘(1) the need for public access to the documents at issue; (2)

 the extent of previous public access to the documents; (3) the fact that someone has

 objected to disclosure, and the identity of that person; (4) the strength of any property

 and privacy interests asserted; (5) the possibility of prejudice to those opposing

 disclosure; and (6) the purposes for which the documents were introduced during the

 judicial proceedings.” EEOC v. Nat’l Children’s Ctr., Inc., 98 F.3d 1406, 1409 (D.C.

 Cir. 1996)).


       The requisite balancing under this six-factor test weighs in favor of sealing

 Docket No. 44. As to the need for public access, this first factor does not weigh in

 favor of public access for many of the reasons discussed by the D.C. Circuit in
        Case 1:21-cr-00225-DLF Document 45-1 Filed 06/07/22 Page 4 of 5




Hubbard itself. Docket No. 44 does not pertain to evidence of guilt or innocence in a

trial[.]” Hubbard, 650 F.2d at 317. Moreover, “[t]he public in this case [will have]

access, inter alia, to the courtroom proceedings . . . , to the memoranda filed by the

parties . . . , [and] to the trial judge’s memorandum decision[.]” Id. at 317-18.


       The public thus has minimal need to take the additional step of copying and

reproducing the document. See generally CNN, Inc. v. FBI, 984 F.3d 114, 119 (D.C.

Cir. 2021) (“A district court weighing the first factor should consider the public’s need

to access the information that remains sealed, not the public’s need for other

information sought in the overall lawsuit.”).




      Note that Francesco Valentini, Assistant US Attorney, Appellate Section,

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         Case 1:21-cr-00225-DLF Document 45-1 Filed 06/07/22 Page 5 of 5




III.    CONCLUSION
        For all the foregoing reasons, Defendant respectfully requests that Docket

  No. 44 be placed under seal.


  Dated: June 7, 2022                   /s/ John M. Pierce
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